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AO 243 (Rev. 09/17)
nee MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT

SENTENCE BY A PERSON IN FEDERAL CUSTODY

 

United States District Court [District MiopLreé Disieicr CF FLORIDA.
Name (under which you were convicted): Docket or Case No.:
DEEPAK. . DESHPANDE

 

 

 

 

 

 

 

 

   

Place of Confinement: Tunts N, Az. Prisoner No.: 404.94 ai . —_ =
UNITED STATES OF AMERICA Movant (include name under which conyicted)
¥. DEEPAK. DESHPANDES
= >
MOTION ~ “7
1. (a) Name and location of court which entered the judgment of conviction you are challenging: = La
UMITED STATES DISTRACT Comet, S a os)

MippLe Pisteict OF FLORIDA - SxS

401 WEST CENTRAL BLVD,
ORLANDO, Fi S2R8e!

(b) Criminal docket or case number (ifyou know): Gli —C@~|3i-CEM)-LPRH-|

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2. (a) Date of the judgment of conviction (if you know): — A@cj@ BEL | gq | EOl<.
(b) Date of sentencing: —__ ; APRIL Lieth | 2e19

3. Lengthofsentence:  Counrrp dian —FHILTY YEARS Count THREE — LIFE

4. Nature of crime (all counts):
f- (8 Us.c. g RRSRM)-- ReceiPy OF CHILO PORNOIPAPHY .

2. 1% uUs.c § 2251Ca) ant 0), — Propwion OF Cricd Pornouearry :
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5. 1% USC 6 2422 (i) ERTUCEMENT OF Inde R
4. 1@ USc G e4ee(b) ~ Enticemesy GF A MINOR,

 

5. (a) What was your plea? (Check one)
(1) Not guilty [ | (2) Guilty p<] (3) Nolo contendere (no contest) [|

6. (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
what did you plead guilty to and what did you plead not guilty to?

PleaD ChuiitTy TO COunT THO AND COUNT FREE.

COUNT @GNE AND Foue WeRE MiSMUssSED GN Hyver Mew MOTION,

 

6. If you went to trial, what kind of trial did you have? (Check one) juryL_| Judge only [|

7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes Ix] CSenkescics) N | |

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AO 243 (Rev. 09/17)
‘ » 8. Did you appeal from the judgment of conviction? Yes b<| No[_ |

9. Ifyou did appeal, answer the following:
(a) Name of court: Couet me AePEALS Fork THE ELEVENTH ¢CLecuTt.
(b) Docket or case number (if you know): iG-j1Sc2=s
(c) Result: AFPIeMED
(d) Date of result (if you know): Ape | e leoee . PEUtoN Fou Re’ Hemiwn Danep -

(e) Citation to the case (if youknow): _ 8% Fev( Apo ¥ 23 A. (ith cis Zaeq)

(f) Grounds raised:
Distercy Court ERRED IN DENYING, Motion TO WiTADRAWAL

ON THe ERfoRs IN Pure bcs) Cm).

 

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes No [|
If “Yes,” answer the following: 5 8
(1) Docket or case number (if you know): 2? @-SRE@.

 

 

 

 

(2) Result: DENIED...

(3) Date of result (if you know): Novem per i Gt ] 2670.
(4) Citation to the case (if you know):

(5) Grounds raised:

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i) Did THE APPELLATE Couey IN THE ORDER DENNING, MOON To Promote HIMSELR AS CO COUMIEL

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10. Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?

Yes [| No

11. If your answer to Question 10 was “Yes,” give the following information:

 

 

(a) (1) Name of court: — Sif —
(2) Docket or case number (if you know): —- NLA —
(3) Date of filing (if you know): —pyaA—

 

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AO 243 (Rev. 09/17)
AO ge (4) Nature of the proceeding: —PA/r -
(5) Grounds raised:

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [| Nox].

(7) Result: wl

 

(8) Date of result (if you know): = —WA}s/pj  —

 

(b) If you filed any second motion, petition, or application, give the same information:

 

 

 

(1) Name of court: a J ip _—

(2) Docket of case number (if you know): —- Nin ~
(3) Date of filing (if you know): — N/A _
{4) Nature of the proceeding: —N 1A

 

(5) Grounds raised:
/ —— Ky fA
t

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
Yes [| No

(7) Result: a hhh —

(8) Date of result (if you know): — NLA

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,

 

 

or application?

(1) First petition: yes|_| Nob
(2) Second petition: Yes [ | No Ae

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

—— Ni!

 

 

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For this motion, state every ground on which you claim that you are being held in violation of the Constitution,

laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground. Any legal arguments must be submitted in a separate memorandum.

4 Saal

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GROUND ONE: Fouegit AMENDMENT NIOLATION

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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Qad =" Netteal” - Contin in Page SCA) ~ SCL),

(b) Direct Appeal of Ground One:
om the judgment of conviction, did you raise this issue?

(1) Ifyou appealed fr
Yes No
(2) Ifyou did not raise this issue in your direct appeal, explain why: Appotm<ed Counsel Fajorme Hocus his
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(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [| NoPX]
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: N/A
Name and location of the court where the motion or petition was filed:

 

>

 

 

 

<—_ N/r
Docket or case number (if you know): rry/n
Date of the court’s decision: N/A

 

Result (attach a copy of the court’s opinion or order, if available):
(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No
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Case 6:18-cr-00131-CEM-LRH Document117 Filed 04/15/21 Page 13 of 44 PageID 918

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¥ (4). Did you appeal from the denial of your motion, petition, or application?
, Yes [| No x

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

 

N/P
Docket or case number (if you know): AS/
Date of the court’s decision: ro/n

 

Result (attach a copy of the court’s opinion or order, if available):

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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
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(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

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(b) Direct Appeal! of Ground Two: ,

(1) If you appealed from the judgment of conviction, did you raise this issue?

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(2) Ifyou did not raise this issue in your direct appeal, explain why: Rogsiied Comes _ eemed thar
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(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition: — A3/A —

 

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know): -N/A-—

 

Date of the court’s decision: —n/A—

 

Result (attach a copy of the court’s opinion or order, if available):

x] a ——>

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(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No

(4) Did you appeal from the denial of your motion, petition, or application?
Yes [| No x]

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes [_]. No

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

hh /.—

 

Docket or case number (if you know): ———-— ,aj$/A —-~

 

Date of the court’s decision: — AY/A

 

 

Result (attach a copy of the court’s opinion or order, if available):

— WIA ——

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

—— w/a —

 

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(b) Direct Appeal of Ground Three:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No

(2) Ifyou did not raise this issue in your direct appeal, explain why: Appoiatecl Counsel fayossne tha

 

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(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes|_| No bx]
(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition: — Nh —

 

Name and location of the court where the motion or petition was filed:
— N/a —

Docket or case number (if you know): — N/a —

 

 

Date of the court’s decision: —_—N/A—

 

Result (attach a copy of the court’s opinion or order, if available):

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(3) Did you receive a hearing on your motion, petition, or application?

Yes [ | No

(4) Did you appeal from the denial of your motion, petition, or application?

yesL_] No [X]

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes [| No .

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AO 243 (Rev. 09/17)
v. xa ZX
(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

 

. — Nia —
Docket or case number (if you know): —N/p —
Date of the court’s decision: — Ai/mh —-

 

Result (attach a copy of the court’s opinion or order, if available):

— N/a

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this
issue:

 

 

_— N/A —>

 

GROUND FOUR: GhoverNMent Emterep the Pien Iw Bap FAITH AND
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(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
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(b) Direct Appeal of Ground Four: CONTINUED ON PAE. F(A) - 9(B).

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?
Yes [| No XX]
(2) Ifyou did not raise this issue in your direct appeal, explain why: _ A ppo' atc Couosel in cms this

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TU suaenralt én.
(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes | | No [XL

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

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AO 243 (Rev. 09/17)

<i Type of motion or petition: = .— ni/ A —

 

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Docket or case number (if you know): — i/A —
Date of the court’s decision: — s/h —

 

Result (attach a copy of the court’s opinion or order, if available):

_— As /a ——

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No

(4) Did you appeal from the denial of your motion, petition, or application?

Yes No [XI

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes No DX"

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

 

 

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Docket or case number (if you know): — N/A —~
Date of the court’s decision: — Ni ——

 

Result (attach a copy of the court’s opinion or order, if available):
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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

 

 

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13. Is there any ground in this motion that you have not previously presented in some federal court? Ifso, which
ground or grounds have not been presented, and state your reasons for not presenting them:

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(a) Supporting FACTS (Do not argue or cite law. Just state the specific facts that support your claim.):
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(b) Did you present the issue raised in Ground Two to the court of appeals? Yes O No

 

(c) If you did not raise this issue in a direct appeal, explain why: __Fvss3 Gopellate Countet when
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GROUND Six: _JH@e1S A PATTERN MF PResecutMmAL Miccampucr Anwp
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(a) Supporting FACTS (Do not argue or cite law. Just state the specific facts that support your claim.):

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(b) Did you present the issue raised in Ground One to the court of appeals? Yes O No

 

  

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(c) If you did not raise this issue in a direct appeal, explain why: _J+ i¢ appaintcl Councel ‘s
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(a) Supporting FACTS (Do not argue or cite law. Just state the specific facts that support your claim.):
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(b) Did you present the issue raised in Ground Three to the court of appeals? Yes 0 Nol

(c) If you did not raise this issue in a direct appeal, explain why: _Fecct Qppcinte ol Coun se |
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(a) SUppOreng FACTS me not argue or cite law. Just state the specific facts that support your claim.):

 

 

 

 

 

 

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(b) Did you present the issue raised in Ground Four to the court of appeals? Yes 0 No

(c) If you did not raise this issue in a direct appeal, explain why:

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AO 243 (Rev. 09/17)

_ 14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the

15.

16.

17.

you are challenging? Yes [| No
If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

— N/a —

 

Give the name and address, if known, of each attorney who represented you in the following stages of the
judgment you are challenging:

(a) At the preliminary hearing:

 

(b) At the arraignment and plea: MA“. J .OB FIER L OREN ,HMATFELD “este P.A |

iZAYSriORe LENICE , Shy WET Ray 2 Teert, Swie zee, Tames, Fi 'S8606
(c) At the trial:

 

1902 Sout HARBOR TN Biv Suite 124- Meizourne, Fr BF GoI

(d) Atsentencing: SEAN -M.WAawer CinAciver * WAGNER PAT

 

(e) On appeal: SEAN. M. WAgwe® Linamwer « WAGNER PAT.

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(f) In any post-conviction proceeding:

 

(g) On appeal from any ruling against you in a post-conviction proceeding:

w~ WIR

 

Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court

and at the same time? Yes [| No KI

Do you have any future sentence to serve after you complete the sentence for the judgment that you are

challenging? Yes [| No Kx]

(a) Ifso, give name and location of court that imposed the other sentence you will serve in the future:

—rsk —

 

(b) Give the date the other sentence was imposed: — a/p7 —

 

(c) Give the length of the other sentence: — Im

 

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [| No [|

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AO 243 (Rev. 09/17)

18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

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* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C. § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Ccurt, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.

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* — CaSe 6:18-cr-00131-CEM-LRH Document 117 Filed 04/15/21 Page 44 of 44 PagelD 949

AO 243 (Rev. 09/17)

” eS a

Therefore. movant asks that the Court grant the following relief:

 

or any other relief to which movant may be entitled.

 

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on \ pri l | gh | POL) -
‘ (month, date, year)

 

Executed (signed) on Apsi | gy| LOSI (date)

 

 

Signature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

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